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22
                                 UNITED STATES DISTRICT COURT
23

24                              CENTRAL DISTRICT OF CALIFORNIA
25
                                      WESTERN DIVISION
26
27   JUDICIAL WATCH, INC.,                         Case No. _______________
     ELECTION INTEGRITY PROJECT
28   CALIFORNIA, INC., WOLFGANG
     KUPKA, RHUE GUYANT, JERRY

                                               1
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 1   GRIFFIN, and DELORES M. MARS,                               COMPLAINT
                                                           FOR DECLARATORY AND
 2                          Plaintiffs,                      INJUNCTIVE RELIEF
            v.
 3
     DEAN C. LOGAN, in his official
 4   capacity as the Registrar-
     Recorder/County Clerk of Los Angeles
 5   County, California, and ALEX
     PADILLA, in his official capacity as
 6   the California Secretary of State,
 7                            Defendants.
 8

 9                                   JURISDICTION AND VENUE
10
            1.        Plaintiffs seek declaratory and injunctive relief to compel the Los Angeles
11

12   County Registrar and the California Secretary of State to comply with their voter list
13   maintenance obligations and their record production obligations under Section 8 of the
14
     National Voter Registration Act of 1993 (“NVRA”), 52 U.S.C. § 20507. This Court has
15

16   jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as this action arises under the
17   laws of the United States, and under 52 U.S.C. § 20510(b)(2), as the action seeks
18
     injunctive and declaratory relief under the NVRA.
19

20          2.        Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a
21   defendant resides in this district and all defendants reside in California; and because a
22
     substantial part of the events and omissions giving rise to the claims herein occurred in
23

24   this district.
25
                                                 PARTIES
26
            3.        Plaintiff JUDICIAL WATCH, INC. (“Judicial Watch”) is a not-for-
27

28   profit, educational organization incorporated under the laws of the District of

                                                  2
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 1   Columbia and headquartered at 425 Third Street SW, Suite 800, Washington, D.C.
 2
     20024. Its mission is to promote transparency, integrity, and accountability in
 3

 4   government and fidelity to the rule of law. As part of this mission, Judicial Watch

 5   regularly requests records from state and local governments pursuant to federal and state
 6
     laws, analyzes the responses and disseminates both its findings and the requested records
 7

 8   to the American public to inform it about “what the government is up to.” Judicial Watch
 9   will sue to enforce compliance with federal and state laws concerning the provision of
10
     records, public integrity, government accountability, and voting rights. It has undertaken
11

12   investigations and commenced other lawsuits to enforce the NVRA.
13         4.     Plaintiff ELECTION INTEGRITY PROJECT CALIFORNIA, INC.
14
     (“EIPC”) is a registered non-profit organization incorporated under the laws of the State
15

16   of California and headquartered at 27943 Seco Canyon Road #521, Santa Clarita,
17   California, 91350. EIPC seeks to promote citizen engagement through education and
18
     training to protect the integrity of the electoral process in California. To this end, EIPC
19

20   regularly requests voter registration records from jurisdictions in California, analyzes
21
     those records to determine compliance with the NVRA’s list maintenance obligations,
22
     and notifies the jurisdictions about their findings.
23

24         5.     Plaintiff WOLFGANG KUPKA is a resident and a registered voter of Los
25
     Angeles County, California, who has voted and intends to vote in the County.
26
           6.     Plaintiff RHUE GUYANT is a resident and a registered voter of Los
27

28   Angeles County, California, who has voted and intends to vote in the County.

                                                3
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 1          7.     Plaintiff JERRY GRIFFIN is a resident and a registered voter of Los
 2
     Angeles County, California, who has voted and intends to vote in the County.
 3

 4          8.     Plaintiff DELORES M. MARS is a resident and a registered voter of

 5   Los Angeles County, California, who has voted and intends to vote in the County.
 6
            9.     Defendant DEAN C. LOGAN is the Registrar-Recorder/County Clerk of
 7

 8   Los Angeles County, California (the “Registrar”) and has served in this capacity since
 9   July 8, 2008. The Registrar is the designated local “election official” under California
10
     law “responsible for collecting and processing voter registration data.” CAL. CODE REGS.
11

12   tit. 2, § 20108.1(i).
13          10.    Defendant ALEX PADILLA is the California Secretary of State and
14
     has served in this capacity since January 5, 2015. The Secretary of State is
15

16   designated by California law as the “chief state elections official responsible for
17   coordination of the state’s responsibilities under” the NVRA. CAL. ELEC. CODE §
18
     2402(a); see 52 U.S.C. §20509.
19

20          11.    Both Defendants are sued in their official capacities only.
21
                                      BACKGROUND FACTS
22
     Statutory Background
23

24          12.    The NVRA requires states to “conduct a general program that makes a
25
     reasonable effort to remove the names of ineligible voters from the official lists of
26
     eligible voters.” 52 U.S.C. § 20507(a)(4).
27

28


                                                4
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 1         13.    Section 8(i) of the NVRA requires that each state “ shall maintain for at
 2
     least 2 years and shall make available for public inspection and . . . photocopying at a
 3

 4   reasonable cost, all records concerning the implementation of programs and activities

 5   conducted for the purpose of ensuring the accuracy and currency of official lists of
 6
     eligible voters.” 52 U.S.C. § 20507(i).
 7

 8         14.    Under federal law, a voter becomes “ineligible,” and the voter’s name is
 9   subject to removal from a jurisdiction’s voter rolls, when the voter moves out of the
10
     jurisdiction; specifically asks to be removed from the rolls; dies; is disqualified from
11

12   voting under state law because of a criminal conviction or mental incapacity; or when an
13   erroneous registration record is corrected, as when a registrant has registered in the wrong
14
     jurisdiction or is a noncitizen. 52 U.S.C. § 20507(a)(3), (4)(A), 4(B), (c)(2)(B)(ii).
15

16         15.    The NVRA provides that the registration of a voter who is believed to have
17   moved out of a jurisdiction is only subject to removal from the voter rolls if (1) the voter
18
     confirms this move in writing, or (2) the voter fails to respond to an address confirmation
19

20   notice, and then fails to vote during a statutory waiting period extending from the date of
21
     the notice through the next two general federal elections. 52 U.S.C. § 20507(d)(2)(B).
22
           16.    California law provides that an “inactive voter” is a voter for whom a county
23

24   has received a returned confirmation residency mailing without a forwarding address in
25
     the same county, or a voter who has been identified by the United States Postal Service’s
26
     National Change of Address database as having moved outside the county. CAL. CODE
27

28   REGS. tit. 2, § 20108(l).

                                                5
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 1         17.    Under both the NVRA and California law, voters whose registrations are
 2
     designated as “inactive” may still vote on election day. 52 U.S.C. § 20507(d)(2)(A);
 3

 4   CAL. CODE REGS. tit. 2, § 20108(l).

 5         18.    Because voters with inactive registrations may still vote on election day,
 6
     inactive registrations must be counted as part of a county’s voter registration list.
 7

 8   Los Angeles County’s Excessive Registration Rate
 9         19.    In June of each odd-numbered year, the U.S. Election Assistance
10
     Commission (“EAC”) is required by law to release a report regarding state voter
11

12   registration practices. 52 U.S.C. § 20508(a)(3).
13         20.    States are required by federal regulations to provide various kinds of
14
     registration data to the EAC for use in this biennial report. This data must include “the
15

16   total number of registered voters statewide, including both ‘active’ and ‘inactive’ voters
17   if such a distinction is made by the state,” for the last two general federal elections. 11
18
     C.F.R. § 9428.7(b)(1), (2).
19

20         21.    In June 2017, the EAC published its most recent report as well as datasets
21
     containing voter registration statistics based on information provided by the states. This
22
     report and these datasets are available at https://www.eac.gov/research-and-data/election-
23

24   administration-voting-survey/.
25
           22.    Judicial Watch analyzed the data provided by the EAC in June 2017 and
26
     compared it to the most recent census data to determine the adult citizen registration rates
27

28


                                                6
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 1   for United States counties. Judicial Watch was able to do this for 2,958 of the
 2
     approximately 3,100 counties or county equivalents in the United States.
 3

 4         23.    Whenever a jurisdiction has more voter registrations than resident citizens

 5   over the age of 18, meaning that its registration rate, including active and inactive
 6
     registrations, is greater than 100%, it is a strong indication that that jurisdiction is not
 7

 8   taking the steps required by law to cancel the registrations of ineligible registrants.
 9         24.    Approximately 15% of the United States counties for which data is available
10
     from the EAC and the Census Bureau have adult citizen registration rates – including
11

12   active and inactive registrations – exceeding 100%.
13         25.    Eleven of California’s 58 counties have registration rates exceeding 100% of
14
     the age-eligible citizenry.
15

16         26.    Los Angeles County has more voter registrations on its voter rolls than it has
17   citizens who are old enough to register. Specifically, according to data provided to and
18
     published by the EAC, Los Angeles County has a registration rate of 112% of its adult
19

20   citizen population.
21
           27.    The entire State of California has a registration rate of about 101% of its
22
     age-eligible citizenry.
23

24         28.    The high registration rates in Los Angeles County and in and throughout the
25
     State of California indicate that Defendants have failed to conduct a general program that
26
     makes a reasonable effort to cancel the registrations of ineligible registrants.
27

28


                                                 7
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 1   Los Angeles County’s Excessive Number of Inactive Registrations
 2
           29.    Removing registrations that have been in an inactive status for more than
 3

 4   two general federal elections is a necessary part of any effort to comply with the NVRA’s

 5   mandate to conduct a general program that makes a reasonable effort to remove the
 6
     registrations of ineligible registrants.
 7

 8         30.    Having a high number of inactive registrations is a strong indication that a
 9   state or jurisdiction is not removing inactive registrations after two general federal
10
     elections.
11

12         31.    Inactive registrations which may be voted by mail or in person on election
13   day are particularly vulnerable to fraudulent abuse by a third party, because a voter who
14
     has moved to a different state is unlikely to monitor the use of or communications
15

16   concerning an old registration.
17         32.    Inactive registrations are also inherently vulnerable to abuse by voters who
18
     plan to fraudulently double-vote in two different jurisdictions on the same election day.
19

20         33.    About 21% of all of California’s voter registrations, or more than one in
21
     five, are designated as inactive.
22
           34.    California has the highest rate of inactive registrations of any state in the
23

24   country.
25
           35.    According to data provided to and published by the EAC, Los Angeles
26
     County has a reported 1,515,330 inactive registrations.
27

28


                                                8
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 1         36.    Los Angeles County has the highest number of inactive registrations of any
 2
     single county in the country.
 3

 4         37.    On information and belief, a significant number of Los Angeles County’s

 5   inactive registrations have been inactive for a period of time extending years beyond the
 6
     most recent two general federal elections.
 7

 8         38.    Los Angeles County’s high total number of inactive registrations indicates
 9   that Defendants have failed to conduct a general program that makes a reasonable effort
10
     to cancel the registrations of ineligible registrants.
11

12   The Higher Registration Numbers Reported Directly to Judicial Watch
13         39.    On June 15, 2017, Judicial Watch made a telephone call to the Los Angeles
14
     County Office of the Registrar-Recorder/County Clerk to determine whether the website
15

16   listing of “total registration” included both active and inactive registrants. An employee
17   at the Los Angeles County Registrar-Recorder’s office told Judicial Watch during that
18
     call that the published number displayed only active registrants and that total inactive
19

20   registrants were not publicly available. When asked how many total active and total
21
     inactive registrations were in Los Angeles County as of June 15, 2017, the employee told
22
     Judicial Watch that there were currently 5,238,465 active registrations, and 3,475,328
23

24   inactive registrations, which is more than twice the 1,515,330 inactive registrations
25
     previously reported to the EAC.
26
27

28


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 1         40.    A total of 3,475,328 inactive registrations means that Los Angeles
 2
     County’s adult citizen registration rate is about 144%, which is one of the ten
 3

 4   highest registrations rates among the thousands of counties in the United States.

 5         41.    That number of inactive registrations in Los Angeles County raises
 6
     the statewide percentage of inactive registrations in California to almost 27%, not
 7

 8   21% as reported by the EAC.
 9         42.     That number of inactive registrations means that 40% of Los Angeles
10
     County’s registrations are inactive.
11

12         43.    On November 16, 2017, Plaintiff Judicial Watch sent a request under
13   the California Public Records Act (CPRA), CAL. GOV’T CODE § 6250 et seq., on
14
     behalf of Plaintiff Delores M. Mars to the office of the Los Angeles County
15

16   Registrar-Recorder/County Clerk seeking “[a]ll public records dated or created
17   after April 10, 2017, that concern, refer to, state, estimate, or predict the number of
18
     inactive registrations on the voter rolls in Los Angeles County.”
19

20         44.    On November 28, 2017, a representative of Defendant Logan
21
     responded that “there are no responsive documents available.”
22
           45.    On November 29, 2017, Plaintiff Judicial Watch sent a second request
23

24   under the CPRA on behalf of Plaintiff Delores M. Mars to the office of the Los
25
     Angeles County Registrar-Recorder/County Clerk seeking “[a]ll public records
26
     dated or created between January 1, 2016 and April 10, 2017, that concern, refer
27

28


                                               10
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 1   to, state, estimate, or predict the number of inactive registrations on the voter rolls in Los
 2
     Angeles County.”
 3

 4         46.    On December 11, 2017, a representative of Defendant Logan responded to

 5   this second request that “there are no responsive documents available.”
 6
           47.    On information and belief, the data Judicial Watch received from the Los
 7

 8   Angeles County Registrar-Recorder’s office in June 2017 accurately reflects the true
 9   number of inactive registrations in Los Angeles County.
10
     Defendants Are Violating the NVRA by Refusing to Cancel Old, Inactive Registrations
11

12         48.    California law provides that the “voter registration of any voter whose name
13   has been placed on the inactive file . . . for failure to respond to an address verification
14
     mailing . . . who does not vote or offer to vote” for “two federal general elections . . . may
15

16   be canceled.” CAL. ELEC. CODE §2226 (emphasis added).
17         49.    The “California NVRA Manual,” updated August 2015 and issued by
18
     Defendant Padilla, which is available on the Secretary of State’s website, states that the
19

20   registration of a voter who does not return an address confirmation notice “may be
21
     cancelled,” adding that “California law makes removal in this instance permissive rather
22
     than mandatory.”
23

24         50.    In or about August 2017, Defendant Logan told a reporter for the
25
     Sacramento Bee that inactive registrations were being maintained on the voter rolls as a
26
     “fail-safe” for voters who may have moved but were eligible to vote.
27

28


                                                11
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 1         51.    California reported to the EAC that Los Angeles County removed
 2
     zero registrations between November 2014 and November 2016 for “[f]ailure to
 3

 4   respond to notice sent and failure to vote in the two most recent Federal elections.”

 5         52.    The plain terms of the NVRA and related statutes require the removal
 6
     of a registration where a voter fails to respond to an address confirmation notice
 7

 8   and then does not vote in two general federal elections.
 9         53.    The NVRA contains extensive provisions regarding the sending of
10
     address confirmation notices and the processing and removal of registrations where
11

12   voters do not respond to such notices or vote during the statutory waiting period.
13   52 U.S.C. § 20507(d). Simply refusing to cancel the registrations of voters who
14
     failed to respond to a confirmation notice and to vote during the prescribed waiting
15

16   period, as Los Angeles County is doing, renders the NVRA’s provisions regarding
17   address confirmation notices superfluous and meaningless.
18
           54.    As a practical matter, given that Los Angeles County has the highest
19

20   number of inactive registrations of any county in the country, the registrations of
21
     those placed on the inactive list for two general federal elections after failing to
22
     respond to address confirmation notices must be removed to comply with the
23

24   NVRA’s mandate to conduct a general program that makes a reasonable effort to
25
     remove the registrations of ineligible registrants.
26
           55.    Los Angeles County’s practice of refusing to cancel the registrations
27

28   of ineligible registrants, and any California law or guidance sanctioning that

                                                12
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 1   practice, conflict with the NVRA, are superseded and preempted by it, and are invalid
 2
     and unenforceable as a matter of federal preemption law.
 3

 4         56.    Los Angeles County’s practice of refusing to cancel the registrations of

 5   ineligible registrants violates the NVRA.
 6
     Defendants Are Violating the NVRA by Failing to Send Enough Address Confirmation
 7   Notices
 8
           57.    California reported to the EAC that Los Angeles County sent 187,329
 9

10   address confirmation notices during the period from November 2014 to November 2016.
11   This is about 93,664 confirmation notices each year.
12
           58.    California reported to the EAC that Los Angeles County has about
13

14   5,238,894 active registrations. This means that about 2% of those holding active
15   registrations in Los Angeles County receive a confirmation notice each year.
16
           59.    The Census Bureau reports that about 13% of the residents of Los Angeles
17

18   County move each year.
19         60.    Los Angeles County is sending so few address confirmation notices relative
20
     to the size of its registration list that it is failing to conduct a general program that makes
21

22   a reasonable effort to remove the registrations of ineligible registrants.
23
           61.    Los Angeles County’s failure to send enough confirmation notices to allow
24
     it to conduct proper list maintenance violates the NVRA.
25

26
27

28


                                                 13
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 1   Defendants Are Violating the NVRA in a Number of Ways Identified by the Los
 2   Angeles County Auditor-Controller

 3         62.    In May 2016, a local media outlet reported that 265 deceased voters, 215 of
 4
     them from Los Angeles County, had voted in California elections. Thirty-two had voted
 5

 6   in eight elections each. The reporter found that 212 of these voters were still registered

 7   and eligible to vote in the 2016 primaries. David Goldstein, CBS2 Investigation
 8
     Uncovers Votes Being Cast from Grave Year After Year, CBS LOS ANGELES, May 23,
 9

10   2016, http://losangeles.cbslocal.com/2016/05/23/cbs2-investigation-uncovers-votes-
11   being-cast-from-grave-year-after-year/.
12
           63.    On May 24, 2016, in response to this report, the Los Angeles County Board
13

14   of Supervisors instructed the Los Angeles County Auditor-Controller to report on
15   protocols relating to voter file maintenance.
16
           64.    On August 25, 2016, the Auditor-Controller submitted to the Board a
17

18   follow-up review (the “Review”) of previous recommendations regarding a number of
19   topics, including duplicate registrations.
20
           65.    Referring to an earlier report from February 2015 regarding duplicate
21

22   registrations, the Review noted that six of ten prior recommendations had been only
23
     partially implemented, including recommendations relating to employee training.
24
           66.    The Review noted that there was an ongoing issue with the submission of
25

26   new registrations that did not contain a birthdate, and that that information was crucial to
27
     any effort to identify duplicate registrations. The Review further noted that a test of 15
28


                                                  14
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 1   registrations without a birthdate showed that four (27%) “appear to be duplicate
 2
     registrations based on their signed voter affidavits.”
 3

 4         67.    The Review suggested that the Registrar should more accurately ensure that

 5   voting privileges are timely suspended in the Data Information Management System for
 6
     individuals ineligible to vote. The Review noted that updates to voter registrations
 7

 8   concerning those deemed ineligible to vote on account of felony convictions, mental
 9   incompetence, or duplicate registrations were frequently made only after a considerable
10
     lapse of time, and that the State’s computer system was limited in its ability to produce
11

12   exception reports and audit trails. The Review noted that the Auditor-Controller’s
13   recommendations on these issues were only “partially implemented.”
14
           68.    On information and belief, Los Angeles County is failing to properly
15

16   conduct the list maintenance required by the NVRA by failing to properly train
17   employees, failing to require and enter registrants’ birthdates, and failing to timely
18
     process reports that registrants have died, have committed disqualifying felonies, are
19

20   mentally incompetent, or have registered twice.
21
     Plaintiffs’ Statutory Notice Letters to Defendants
22
           69.    On August 1, 2017, Judicial Watch sent a letter by email and by certified
23

24   mail to Defendants Padilla and Logan, along with election officials in ten other California
25
     counties (the “First Notice Letter”), on behalf of itself, EIPC, and 21 individuals,
26
     including all of the individual plaintiffs in this action.
27

28


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 1         70.    The First Notice Letter observed that there were more registered voters than
 2
     citizens of voting age in each of the identified counties, including Los Angeles County.
 3

 4         71.    The First Notice Letter stated that “these kinds of registration rates

 5   indicate a failure to comply with the voter list maintenance requirements of the
 6
     NVRA,” and asked Defendant Padilla “and, to the extent that they wish to respond
 7

 8   separately, each county identified in this letter, to please respond to this letter in
 9   writing no later than 30 days from today informing us” of the steps being taken to
10
     come into compliance with the NVRA.
11

12         72.    Citing Section 8(i) of the NVRA, 52 U.S.C. § 20507(i), the First
13   Notice Letter also requested that:
14
           your [Defendant Padilla’s] office and, to the extent that they keep
15         records separately from your office, each county named in this letter,
16         [] make available to us all pertinent records concerning “the
           implementation of programs and activities conducted for the purpose
17         of ensuring the accuracy and currency” of California’s official eligible
18         voter lists during the past 2 years.
19   The First Notice Letter added that “[t]hese records should include, but are not limited to”
20
     six particular subcategories of records described in further detail in the letter. The First
21

22   Notice Letter asked Defendants either to provide records within 14 days or to advise
23
     Judicial Watch when they would be made available.
24
           73.    To date Defendant Padilla has made no independent response to the
25

26   First Notice Letter, except indirectly by way of press statements, comments to
27
     reporters, and tweets.
28


                                                 16
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 1            74.   Defendant Logan responded by letter on August 16, 2017 (the “Response
 2
     Letter”), which copied Defendant Padilla, although it did not specifically claim to
 3

 4   respond for him.

 5            75.   The Response Letter briefly suggested that inactive registrations should not
 6
     be considered, and that without them Los Angeles County’s registration rates were at
 7

 8   acceptable levels.
 9            76.   The Response Letter did not mention any steps that Los Angeles County
10
     planned to take to comply with the NVRA. Instead, the Response Letter posed a series of
11

12   inquiries to Judicial Watch regarding its sources and methods.
13            77.   The Response Letter made no mention of the First Notice Letter’s general
14
     request for all records from the past two years concerning the implementation of
15

16   programs and activities designed to ensure the accuracy and currency of the State’s voter
17   rolls.
18
              78.   Instead, the Response Letter purported to specifically address the six
19

20   subcategories of record requests contained in the First Notice Letter. Ultimately, the
21
     Response Letter refused to make available a single record in response to any of the
22
     subcategories of record requests, other than to identify “Advisories to County Election
23

24   Officials” posted on the Secretary of State’s website.
25
              79.   On August 31, 2017, Judicial Watch wrote back (the “Second Notice
26
     Letter”) to both Defendants, objecting to the Response Letter, disputing its assumption
27

28   that inactive registrations were irrelevant to list maintenance, and pointing out that its

                                                17
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 1   claims that there were no responsive records suggested either that Defendants were
 2
     not conducting list maintenance activities or that there had been no serious effort at
 3

 4   a response.

 5         80.     The Second Notice Letter notified Defendants that they were in
 6
     violation of Section 8(i) of the NVRA, 52 U.S.C. § 20507(i).
 7

 8         81.     The Second Notice Letter invited a further response on the matters it
 9   discussed. To date there has been no further response.
10
     Defendants Are Violating the NVRA by Failing to Provide Requested Records
11

12         82.     Defendant Padilla made no response to any of the First Notice Letter’s
13   requests for records pursuant to Section 8(i) of the NVRA, 52 U.S.C. § 20507(i).
14
           83.     In response to the First Notice Letter’s request for Los Angeles
15

16   County’s voter registration list, Defendant Logan in the Response Letter refused to
17   provide that list on the grounds that he did not “maintain separate records of the
18
     statewide California database,” and that disclosure was barred by 52 U.S.C. §
19

20   20504(b) and various State laws.
21
           84.     The stated reasons are faulty, given that Defendant Logan can access
22
     the voter registration database, that 52 U.S.C. § 20504(b) refers to information
23

24   relating to an applicant’s failure to sign a voter registration application, which the
25
     First Notice Letter did not seek, and that any California statutes purporting to
26
     proscribe the right to obtain access to records described by Section 8(i) are
27

28   superseded and preempted by federal law.

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 1         85.    Defendant Logan contended in the Response Letter that he knows of no
 2
     other records responsive to any of the other requests in the First Notice Letter (except for
 3

 4   advisories posted on the Secretary of State’s website). This contention is demonstrably

 5   incorrect.
 6
           86.    The May 24, 2016 correspondence from the Los Angeles County Board of
 7

 8   Supervisors to the Los Angeles County Auditor-Controller, and the August 25, 2016
 9   Auditor-Controller’s follow-up review, discussed above, and other records they
10
     incorporate or refer to, were records concerning activities conducted for the purpose of
11

12   ensuring the accuracy and currency of California’s voter list, and should have been
13   provided in response to the First Notice Letter.
14
           87.    California law mandates the creation of many different kinds of records that
15

16   should have been produced in response to the First Notice Letter’s request. See, e.g., 2
17   CAL. CODE REGS. tit. 2, § 20108.55 (Secretary of State must transmit to counties notices
18
     of potential matches of persons who have died or been convicted of disqualifying
19

20   felonies) (emphasis added); CAL. ELEC. CODE § 2205 (local registrar of births and deaths
21
     must contact county election officials with a monthly report) (emphasis added); CAL.
22
     CODE REGS. tit. 2, § 20108.25 (registration records that are missing substantive
23

24   information are to be returned to the submitting local official along with a deficiency
25
     notice) (emphasis added); CAL. CODE REGS. tit. 2, § 20108.60 (Secretary of State must
26
     check for duplicate registrations and send notices of duplicates to county officials)
27

28   (emphasis added).

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 1         88.    On information and belief, Los Angeles County, with over 5 million
 2
     active voters and massive list maintenance responsibilities, and the Secretary of
 3

 4   State of California have exchanged emails responsive to the First Notice Letter’s

 5   request for “all email or other communications between the Secretary’s Office and
 6
     all California County voter registration officials concerning . . . [i]nstructions to the
 7

 8   counties concerning their general list maintenance practices and obligations” and
 9   “[n]otices to the counties concerning any failure to comply with their voter list
10
     maintenance obligations.” Such emails should have been produced.
11

12         89.    On information and belief, Defendants made no effort to search for
13   records responsive to First Notice Letter’s requests.
14
           90.    Defendant Padilla’s failure to make any response to either the general
15

16   or the six specific requests for records contained in the First Notice Letter violates
17   his obligations under Section 8(i) of the NVRA.
18
           91.    Defendant Logan’s failure in the Response Letter to answer or
19

20   acknowledge the First Notice Letter’s general request for records as well as his
21
     inadequate responses to the First Notice Letter’s six specific requests for records
22
     violate his obligations under Section 8(i) of the NVRA.
23

24   Plaintiffs’ Interest in Compliance With the NVRA
25
           92.    As part of its mission to promote transparency, integrity, and accountability
26
     in government and fidelity to the rule of law, Plaintiff Judicial Watch regularly requests
27

28   records from state and local governments pursuant to Section 8(i) of the NVRA. Judicial

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 1   Watch analyzes all responses, as well as federal, state, and local data from any available
 2
     source, to determine whether jurisdictions are properly maintaining accurate voter rolls as
 3

 4   required by Section 8(a)(4) of the NVRA. If it believes that a jurisdiction is not

 5   complying with Section 8 of the NVRA, Judicial Watch will sue under 52 U.S.C. §
 6
     20510(b) to enforce that statute.
 7

 8         93.    Judicial Watch recently wrote to eleven other states besides California to
 9   inform them of perceived violations of the NVRA and to request NVRA-related
10
     documents. Judicial Watch has a current NVRA lawsuit against Montgomery County,
11

12   Maryland, and the Commonwealth of Kentucky, and in the recent past has sued and
13   resolved NVRA cases against Ohio and Indiana. Judicial Watch also has submitted
14
     several friend-of-the-court briefs at all levels of the federal court system in cases
15

16   concerning enforcement of the NVRA.
17         94.    Defendants’ failure to comply with Section 8 of the NVRA has caused and
18
     will cause Plaintiff Judicial Watch to expend significant additional time and resources to
19

20   achieve its basic organizational mission.
21
           95.    As part of its institutional mission, Plaintiff EIPC requests voter registration
22
     records from California counties and analyzes those records to determine compliance
23

24   with the NVRA’s list maintenance requirements. The purpose of such an analysis is to
25
     produce what is known as a “Findings Report,” which is then typically presented to the
26
     county administration. A Findings Report sets forth EIPC’s statistical analysis of a
27

28   county’s voter registration rolls, detailing, for example, the number of voter registrations

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 1   exceeding the age-eligible population; the number of same-address duplicate registration;
 2
     suspected duplicate registrations in other California counties; deceased registrants
 3

 4   matching a State death record; registrants who are either underage or older than 105

 5   based on their listed birth dates; registrations missing crucial information; and suspected
 6
     instances of double voting or deceased voting.
 7

 8         96.    EIPC previously submitted several Findings Reports to various California
 9   counties in recent years, including Los Angeles County. EIPC currently is preparing
10
     another Findings Report for Los Angeles County.
11

12         97.    Defendants’ failure to comply with Section 8 of the NVRA has made
13   Plaintiff EIPC’s basic organizational mission more difficult to accomplish and has
14
     caused and will cause EIPC to expend significant, additional time and resources to
15

16   accomplish this mission.
17         98.    A person becomes a member of Judicial Watch by making a financial
18
     contribution, in any amount, to the organization. The financial contributions of members
19

20   are by far the single most important source of income to Judicial Watch and provide the
21
     means by which the organization finances its activities in support of its mission.
22
           99.    Judicial Watch has approximately 160,734 members in the State of
23

24   California, and 22,205 members in Los Angeles County. As a membership
25
     organization, Judicial Watch represents the interests of these members, many of
26
     whom are lawfully registered to vote and have the right to vote in California and
27

28   Los Angeles County, including the right to vote in elections for federal office.

                                               22
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 1         100. Judicial Watch solicits the views of its members in carrying out activities in
 2
     support of its mission, including the views of its members in Los Angeles County. The
 3

 4   views of Judicial Watch’s members significantly influence how Judicial Watch chooses

 5   activities to engage in to further its mission.
 6
           101. About 2600 of Judicial Watch’s Los Angeles County members have an
 7

 8   email address and have contributed $5 or more to Judicial Watch within the past two
 9   years. Of these, 375 who are lawfully registered to vote in Los Angeles County have
10
     directly informed Judicial Watch that they are concerned about Los Angeles County’s
11

12   failure to satisfy its obligations under Section 8 of the NVRA, and wish Judicial Watch to
13   take legal action on their behalf to protect their rights. The views of Judicial Watch’s
14
     members were a substantial factor weighing in favor of initiating this lawsuit.
15

16         102. Protecting the rights of Judicial Watch members who are lawfully registered
17   to vote in Los Angeles County and ensuring compliance with the voter list maintenance
18
     obligations of Section 8 of the NVRA are part of Judicial Watch’s mission. They also are
19

20   well within the scope of the reasons why members of Judicial Watch join the
21
     organization and support its mission.
22
           103. Members of Judicial Watch who are lawfully registered to vote in Los
23

24   Angeles County not only have the constitutional right to vote in state elections, including
25
     elections for federal office, but they also have a statutory right to the safeguards and
26
     protections set forth in the NVRA.
27

28


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 1         104. Plaintiffs Wolfgang Kupka, Rhue Guyant, Jerry Griffin, and Delores M.
 2
     Mars, are lawfully registered voters in Los Angeles County and members of Judicial
 3

 4   Watch.

 5         105. Los Angeles County’s failure to comply with the NVRA inflicts a burden on
 6
     the constitutional right to vote of those members of Judicial Watch who are lawfully
 7

 8   registered to vote in Los Angeles County, including the individual plaintiffs in this
 9   action, by undermining their confidence in the integrity of the electoral process,
10
     discouraging their participation in the democratic process, and instilling in them the fear
11

12   that their legitimate votes will be outweighed by fraudulent or ineligible ones.
13         106. Los Angeles County’s failure to satisfy its voter list maintenance obligations
14
     under Section 8 of the NVRA infringes the statutory rights of those members of Judicial
15

16   Watch who are lawfully registered to vote in Los Angeles County, including the
17   individual plaintiffs in this action. These individuals have a statutory right to vote in
18
     elections for federal office that comply with the procedures and protections required by
19

20   the NVRA, including the voter list maintenance obligations set forth in Section 8.
21
           107. Absent action by Judicial Watch, it is unlikely that any individual
22
     member of Judicial Watch would have the ability or the resources to take legal
23

24   action to protect their rights or redress their injuries with respect to Los Angeles
25
     County’s failure to satisfy its voter list maintenance obligations under the NVRA.
26
           108. Judicial Watch; its Los Angeles County members, including
27

28   Wolfgang Kupka, Rhue Guyant, Jerry Griffin, and Delores M. Mars; and EIPC are

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 1   all persons aggrieved by a violation of the NVRA, as set forth in 52 U.S.C. §
 2
     20510(b)(1).
 3

 4         109. The First Notice Letter and the Second Notice Letter constitute statutory

 5   notice, pursuant to 52 U.S.C. § 20510(b)(1), of violations of Sections 8(a)(4) and 8(i) of
 6
     the NVRA.
 7

 8                                      First Claim for Relief
 9                (Violation of Section 8(a)(4) of the NVRA, 52 U.S.C. § 20507(a)(4))
10
           110. Plaintiffs reallege all preceding paragraphs as if fully set forth herein.
11

12         111. Defendants have failed to fulfill Los Angeles County’s obligations under
13   Section 8(a)(4) of the NVRA to conduct a general program that makes a reasonable effort
14
     to cancel the registrations of registrants who are ineligible to vote in California federal
15

16   elections.
17         112. Plaintiffs have suffered, and will continue to suffer, irreparable injury as a
18
     direct result of Defendants’ failure to fulfill Los Angeles County’s obligations to comply
19

20   with Section 8(a)(4) of the NVRA.
21
           113. Plaintiffs have no adequate remedy at law.
22
                                       Second Claim for Relief
23

24                   (Violation of Section 8(i) of the NVRA, 52 U.S.C. § 20507(i))
25
           114. Plaintiffs reallege all preceding paragraphs as if fully set forth herein.
26
           115. Defendants have failed to fulfill their obligations under Section 8(i) of the
27

28   NVRA to make available to Plaintiffs “all records” within the past two years “concerning

                                                25
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 1   the implementation of programs and activities conducted for the purpose of ensuring the
 2
     accuracy and currency of official lists of eligible voters.”
 3

 4         116. Plaintiffs have suffered, and will continue to suffer, irreparable injury as a

 5   direct result of Defendants’ failure to fulfill their obligations under Section 8(i) of the
 6
     NVRA.
 7

 8         117. Plaintiffs have no adequate remedy at law.
 9                                    PRAYER FOR RELIEF
10
           WHEREFORE, Plaintiffs pray for entry of a judgment:
11

12         a.     Declaring Defendants to be in violation of Section 8(a)(4) of the NVRA;
13         b.     Permanently enjoining Defendants from violating Section 8(a)(4) of the
14
     NVRA;
15

16         c.     Declaring that Section 8(a)(4) of the NVRA supersedes and preempts any
17   contrary California law;
18
           d.     Ordering Defendants to develop and implement a general program that
19

20   makes a reasonable effort to remove from Los Angeles County’s rolls the registrations of
21
     ineligible registrants;
22
           e.     Declaring that Section 8(i) of the NVRA supersedes and preempts any
23

24   contrary California law;
25
           f.     Declaring that Defendants are in violation of Section 8(i) of the NVRA by
26
     refusing to allow Plaintiffs to inspect and copy the requested records;
27

28


                                                26
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 1         g.     Permanently enjoining Defendants from refusing to allow Plaintiffs to
 2
     inspect and copy the requested records;
 3

 4         h.     Ordering Defendants to pay Plaintiffs’ reasonable attorney’s fees, including

 5   litigation expenses and costs; and
 6
           i.     Awarding Plaintiffs such other and further relief as this Court deems just and
 7

 8   proper.
 9   Dated:     December 13, 2017                   Respectfully submitted,
10
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 1                                             *Application for admission pro hac vice
 2                                             forthcoming

 3                                             Attorneys for Plaintiffs
 4

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